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           EXHIBIT 3
      Case 4:19-cv-00413-O Document 1-3 Filed 05/20/19                 Page 2 of 33 PageID 12


                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

 VERILYN LAFRANCE                                 §
      Plaintiff,                                  §
                                                  §
 v.                                               §        CIVIL ACTION NO. 4:19-cv-413
                                                  §
 JULIO CRESPOPUENTES, and                         §
 TRIUS TRUCKING, INC.                             §
      Defendants.                                 §

                                  INDEX OF STATE COURT FILE

            The following is an index identifying each state court document and the date in which each

document was filed in the 352nd Judicial District Court of Tarrant County, Texas.


 EXHIBIT               DATE          DOCUMENT
        3                            State Court File
       3a            05/17/2019      Docket Sheet
       3b            03/20/2019      Plaintiff’s Original Petition, Jury Demand, and Requests
                                     for Disclosure
       3c            03/20/2019      Citation Issued on Julio Crespopuentes
       3d            03/20/2019      Citation Issued on Trius Trucking, Inc.
       3e            04/23/2019      Citation Return of Service for Julio Crespopuentes
       3f            05/03/2019      Defendants’ Original Answer and Request for
                                     Disclosures
       3g            05/03/2019      Defendants’ Request for Jury Trial
       3h            05/13/2019      Letter from Court on Pre-Trial Hearing




INDEX OF STATE COURT FILE
2037669
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         EXHIBIT 3a
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Civil - Case and Transaction Information                                                                           5/17/19 10:25 AM
Cause Number:                352-306875-19                                                                     Date Filed: 03-20-2019
               VERILYN LAFRANCE                                 | VS |                   JULIO CRESPOPUENTES, ET AL
Cause of Action:             INJURY OR DAMAGE, INVOLVING MOTOR VEHICLE
Case Status:                 PENDING
File Mark      Description                                                                    Assessed Fee           Credit/Paid Fee
03-20-2019 PLTF'S ORIG PET, JURY DEMAND REQ FOR DISCL, &                       N I                   289.00
               RULE 193.7 NOT
03-20-2019 COURT COST (PAID) trans #1                                          Y                                          289.00
03-20-2019 CIT-ISSUED ON JULIO CRESPOPUENTES-On 03/26/2019 N I Svc                                      8.00
03-20-2019 CIT-ISSUED ON TRIUS TRUCKING INC-On 03/26/2019                      N I Svc                  8.00
03-20-2019 COURT COST (PAID) trans #4                                          Y                                             8.00
03-20-2019 COURT COST (PAID) trans #3                                          Y                                             8.00
03-20-2019 JURY FEE                                                            N                      40.00
03-20-2019 COURT COST (PAID) trans #7                                          Y                                           40.00
04-23-2019 CIT RET OF SVC-JULIO CRESPOPUENTES-EXEC                             I                                             0.00
04-23-2019 CIT Tr# 3 RET EXEC(JULIO CRESPOPUENTES) On                          I                                             0.00
               03/29/2 019
05-03-2019 DEFNS' ORIG ANS & REQ DISCL                                         I                                             0.00
05-03-2019 DEFNS' REQ FOR JURY TRIAL                                           I                                             0.00
05-03-2019 JURY FEE                                                            N                      40.00
05-03-2019 COURT COST (PAID) trans #13                                         Y                                           40.00
05-13-2019 LTR FROM THE CT RE PRE-TRL HRG (6-28-19/9:00)                       I                                             0.00

                                                     District Clerk's Office
                                              Tom Vandergriff Civil Courts Building
                               100 N. Calhoun St., 2nd Floor, Fort Worth, Texas 76196, Contact Us
               Please send questions and comments regarding the District Clerk web site to District Clerk Webmaster
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        EXHIBIT 3b
Case 4:19-cv-00413-O Document 1-3 Filed 05/20/19   Page 6 of 33 PageID 16
                                                                                 FILED
                                                                    TARRANT COUNTY
                                                                     3/20/2019 5:12 PM
                                   352-306875-19                   THOMAS A. WILDER
                                                                      DISTRICT CLERK
Case 4:19-cv-00413-O Document 1-3 Filed 05/20/19   Page 7 of 33 PageID 17
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         EXHIBIT 3c
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         EXHIBIT 3d
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         EXHIBIT 3e
                                                                                    FILED
                             352-306875-19                              TARRANT COUNTY
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                                                                       4/23/2019
                                                                       THOMAS A. WILDER
                                                                         DISTRICT CLERK
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          EXHIBIT 3f
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                                           352-306875-19                                                 FILED
                                                                                            TARRANT COUNTY
                                                                                              5/3/2019 1:39 PM
                                                                                           THOMAS A. WILDER
                                   CAUSE NO. 352-306875-19                                    DISTRICT CLERK

 VERILYN LAFRANCE                                 §             IN THE DISTRICT COURT OF
      Plaintiff,                                  §
                                                  §
 v.                                               §
                                                  §              TARRANT COUNTY, TEXAS
 JULIO CRESPOPUENTES and                          §
 TRIUS TURCKING, INC.                             §
      Defendants.                                 §                352ND JUDICIAL DISTRICT



      DEFENDANTS’ ORIGINAL ANSWER AND REQUEST FOR DISCLOSURE


TO THE HONORABLE JUDGE OF SAID COURT:

          COME NOW, Julio Crespopuentes and Trius Trucking, Inc., Defendants herein, and file

this their Original Answer to Plaintiff’s Original Petition, and in support thereof would respectfully

show unto this Honorable Court as follows:

                                             I.
                                       GENERAL DENIAL

Defendants deny each and every, all and singular, the allegations contained in Plaintiff’s Original

Petition and demand strict proof thereof as authorized by Texas Rule of Civil Procedure 92.

                                          II.
                                REQUEST FOR DISCLOSURE

          Under Texas Rule of Procedure 194, Defendants request that Plaintiff disclose, within

thirty (30) days of the service of this request, the information or material described in Rule 194.2

of the Texas Rules of Civil Procedure.




DEFENDANTS’ ORIGINAL ANSWER AND REQUEST FOR DISCLOSURE                                          Page 1
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                                       III.
                  NOTICE OF INTENT TO USE DOCUMENTS PRODUCED
                             PURSUANT TO T.R.C.P. 193.7

          Defendants place Plaintiff on notice that pursuant to TEX. R. CIV. P. 193.7, all documents

produced by Plaintiff in this litigation are authenticated for use against the producing party in this

case and may be used as evidence during pre-trial procedures and at trial of this matter.

                                                IV.
                                              PRAYER

          WHEREFORE, PREMISES CONSIDERED, Defendants pray that upon final hearing

hereof, Plaintiff takes nothing by way of their cause of action herein, that Defendants recover their

costs herein expended and for such other and further relief, at law or in equity, to which Defendants

may show themselves justly entitled to receive.

                                               Respectfully submitted,

                                               SARGENT LAW, P.C.


                                               By: /s/ David L. Sargent
                                                   DAVID L. SARGENT
                                                   State Bar No. 17648700
                                                   david.sargent@sargentlawtx.com
                                                   BRETT D. TIMMONS
                                                   State Bar No. 24013637
                                                   brett.timmons@sargentlawtx.com

                                               1717 Main Street, Suite 4750
                                               Dallas, Texas 75201
                                               (214) 749-6516 (direct – David Sargent)
                                               (214) 749-6316 (fax – David Sargent)

                                               ATTORNEYS FOR DEFENDANTS




DEFENDANTS’ ORIGINAL ANSWER AND REQUEST FOR DISCLOSURE                                         Page 2
2036640
  Case 4:19-cv-00413-O Document 1-3 Filed 05/20/19                 Page 26 of 33 PageID 36


                                CERTIFICATE OF SERVICE

The undersigned certifies that on the 3RD day of May 2019, a true and correct copy of the foregoing

document was forwarded via ECF to counsel for Plaintiff:

          Phillip Shaw
          JIM S. ADLER & ASSOCIATES
          The Tower at CityPlace, Lock Box 40
          2711 N. Haskell Ave., Suite 2500
          Dallas, Texas 75204
          Attorney for Plaintiff


                                                /s/ David L. Sargent
                                                DAVID L. SARGENT




DEFENDANTS’ ORIGINAL ANSWER AND REQUEST FOR DISCLOSURE                                       Page 3
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         EXHIBIT 3g
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                                          352-306875-19                                               FILED
                                                                                         TARRANT COUNTY
                                                                                           5/3/2019 1:39 PM
                                                                                        THOMAS A. WILDER
                                  CAUSE NO. 352-306875-19                                  DISTRICT CLERK

 VERILYN LAFRANCE                                §            IN THE DISTRICT COURT OF
      Plaintiff,                                 §
                                                 §
 v.                                              §
                                                 §             TARRANT COUNTY, TEXAS
 JULIO CRESPOPUENTES and                         §
 TRIUS TURCKING, INC.                            §
      Defendants.                                §               352ND JUDICIAL DISTRICT



                      DEFENDANTS’ REQUEST FOR JURY TRIAL


TO THE HONORABLE JUDGE OF SAID COURT:

       COME NOW, Julio Crespopuentes and Trius Trucking, Inc., Defendants herein, and

request that a jury trial be held on said cause. A jury fee has been tendered by Defendants.

                                             Respectfully submitted,

                                             SARGENT LAW, P.C.


                                             By: /s/ David Sargent
                                                 DAVID L. SARGENT
                                                 State Bar No. 17648700
                                                 david.sargent@sargentlawtx.com
                                                 BRETT D. TIMMONS
                                                 State Bar No. 24055291
                                                 brett.timmons@sargentlawtx.com

                                             1717 Main Street, Suite 4750
                                             Dallas, Texas 75201
                                             (214) 749-6000
                                             (214) 749-6100 (fax)

                                             ATTORNEYS FOR DEFENDANTS




DEFENDANTS’ REQUEST FOR JURY TRIAL                                                         PAGE 1
2036652
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  Case 4:19-cv-00413-O Document 1-3 Filed 05/20/19               Page 29 of 33 PageID 39


                               CERTIFICATE OF SERVICE

       The undersigned certifies that on the 3RD day of May 2019, a true and correct copy of the

foregoing document was forwarded via ECF to Plaintiff’s counsel:

       Phillip Shaw
       JIM S. ADLER & ASSOCIATES
       The Tower at CityPlace, Lock Box 40
       2711 N. Haskell Ave., Suite 2500
       Dallas, Texas 75204
       Attorney for Plaintiff


                                                   /s/ David Sargent
                                                   DAVID L. SARGENT




DEFENDANTS’ REQUEST FOR JURY TRIAL                                                      PAGE 2
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         EXHIBIT 3h
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From:          Michelle K. Carter
To:            "pshaw@jimadler.com"; "david.sargent@sargentlawtx.com"
Subject:       352-306875-19
Date:          Monday, May 13, 2019 3:56:00 PM
Attachments:   35230687519000015.pdf


Please see the attached Letter form the Court regarding Pre-Trial Hearing in the
above referenced cause.

Thank you,

Michelle Carter
352nd Associate Clerk
Tarrant County District Clerk
100 N. Calhoun St., 2nd Floor
Fort Worth, Texas 76196
817-884-2903
MKCarter@tarrantcounty.com
